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AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case


                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE
                     v.                                                (For Offenses Committed On or After November 1, 1987)
          MAURILIO VASQUEZ-HERAZ                                       Case Number: 2:14CR00276 -12


                                                                       Kristy Kellogg, Esq.
                                                                       Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to count: 1 of the Information .

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:
                                                                                          Date Offense          Count
Title & Section                     Nature of Offense                                     Concluded             Number
21 USC 846 & 841(a)(1)              CONSPIRACY TO MANUFACTURE AND                         9/24/2014             1
                                    DISTRIBUTE AT LEAST 50 MARIJUANA
                                    PLANTS (Class C Felony)



       The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.


[U]      Indictment is dismissed as to this defendant on motion of the United States.


                           [U]      Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                                                           2/7/2017
                                                                Date of Imposition of Judgment

                                                                /s/ John A. Mendez____________________________________
                                                                Signature of Judicial Officer

                                                                JOHN A. MENDEZ, United States District Judge
                                                                Name & Title of Judicial Officer

                                                                2/8/2017
                                                                Date
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:              2:14CR00276 -12                                                                Judgment - Page 2 of 7
DEFENDANT:                MAURILIO VASQUEZ-HERAZ


                                                         IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of 42 MONTHS. .



[]      No TSR: Defendant shall cooperate in the collection of DNA.

[U]     The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends that the defendant be incarcerated in a California facility, but only insofar as this accords
        with security classification and space availability.


[U]     The defendant is remanded to the custody of the United States Marshal.


[]      The defendant shall surrender to the United States Marshal for this district.
        [ ] at     on     .
        [ ] as notified by the United States Marshal.


[]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        [ ] before on        .
        [ ] as notified by the United States Marshal.
        [ ] as notified by the Probation or Pretrial Services Officer.
        If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




        Defendant delivered on                                      to

at                                          , w ith a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                         By
                                                                                                 Deputy U.S. Marshal
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:                     2:14CR00276 -12                                                                                                 Judgment - Page 3 of 7
DEFENDANT:                       MAURILIO VASQUEZ-HERAZ


                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 MONTHS (unsupervised, if deported) .


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]         The above drug testing condition is suspended based on the court's determination that the defendant pos es a low risk of
           future substance abuse. (Check, if applicable.)

[U]        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
           applicable.)

[U]        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
           et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he
           or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                                          STANDARD CONDITIONS OF SUPERVISION

      1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of release from imprisonment, unless
           the probation officer instructs you to report to a different probation office or within a different time frame.
      2.   After initially reporting to the probation office, you will receive instructions from the Court or the probation officer about
           how and when you must report to the probation officer, and you must report to the probation officer as instructed.
      3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
           permission from the Court or the probation officer.
      4.   You must answer truthfully the questions asked by the probation officer.
      5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
           living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
           change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
           the probation officer within 72 hours of becoming aware of a change or expected change.
      6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
           probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
      7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
           you from doing so. If you do not have full-time employment, you must try to find full-time employment, unless the
           probation officer excuses you from doing so. If you plan to change where you work or anything about your work (such
           as your position or your job responsibilities), you must notify the probation officer at least 10 days before the change. If
           notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must
           notify the probation officer within 72 hours of becoming aware of a change or expected change.
      8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
           been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
           permission of the probation officer.
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:                  2:14CR00276 -12                                                                                         Judgment - Page 4 of 7
DEFENDANT:                    MAURILIO VASQUEZ-HERAZ

    9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
   10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed, or was
         modified for, the specific purpose of causing bodily injury or death to another person, such as nunchakus or tasers).
   11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
       informant without first getting the permission of the Court.
   12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
       may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
       contact the person and confirm that you have notified the person about the risk.
   13. You must follow the instructions of the probation officer related to the conditions of supervision.
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:               2:14CR00276 -12                                                             Judgment - Page 5 of 7
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                                    SPECIAL CONDITIONS OF SUPERVISION

         1.       The defendant shall submit to the search of his person, property, home, and vehicle by a
                  United States probation officer, or any other authorized person under the immediate and
                  personal supervision of the probation officer, based upon reasonable suspicion, without a
                  search warrant. Failure to submit to a search may be grounds for revocation. The defendant
                  shall warn any other residents that the premises may be subject to searches pursuant to this
                  condition.

         2.       The defendant shall provide the probation officer with access to any requested financial
                  information.

         3.       As directed by the probation officer, the defendant shall participate in an outpatient
                  correctional treatment program to obtain assistance for drug or alcohol abuse.

         4.       As directed by the probation officer, the defendant shall participate in a program of testing
                  (i.e. breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or
                  alcohol.

         5.       Pursuant to 18 USC 3583(d)(3), upon completion of the term of imprisonment, the defendant
                  is to be surrendered to a duly authorized Immigration official for deportation proceedings in
                  accordance with the established procedures provided by the Immigration and Nationality Act.
                  If ordered deported, the defendant, during the term of supervised release, shall remain outside
                  the United States and shall not re-enter the United States without the consent of the Secretary
                  of the Department of Homeland Security of the United States.

                  Upon any re-entry, lawful or unlawful, into the United States, the defendant shall report in
                  person to the United States Probation Office in the Eastern District of California within 72
                  hours.

         6.       As directed by the probation officer, the defendant shall participate in a co-payment plan for
                  treatment or testing and shall make payment directly to the vendor under contract with the
                  United States Probation Office of up to $25 per month.

         7.       The defendant shall register, as required in the jurisdiction in which he resides, as a drug
                  offender.
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AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  2:14CR00276 -12                                                                            Judgment - Page 6 of 7
DEFENDANT:                    MAURILIO VASQUEZ-HERAZ


                                          CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessment                           Fine                   Restitution
       Totals:                                         $ 100                              $                         $


[]     The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

[]     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
       all nonfederal victims must be paid before the United States is paid.




Name of Payee                                       Total Loss*                   Restitution Ordered Priority or Percentage


       TOTALS:                                           $                               $




[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet
       6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]       The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirement is waived for the                  [ ] fine          [ ] restitution

       [ ] The interest requirement for the                  [ ] fine [ ] restitution is modified as follows:




[]     If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[]     If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 09/2011) Sheet 6 - Schedule of Payments
CASE NUMBER:                 2:14CR00276 -12                                                                            Judgment - Page 7 of 7
DEFENDANT:                   MAURILIO VASQUEZ-HERAZ

                                                 SCHEDULE OF PAYMENTS


     Payment of the total fine and other criminal monetary penalties shall be due as follows:

A    [ ] Lump sum payment of $              due immediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,      [ ] D,   [ ] E, or   [ ] F below; or

B    [U]           Payment to begin immediately (may be combined with             [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of                (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after the date of this judgment; or

D    [ ] Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of (e.g., months or years),
         to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E    [ ] Payment during the term of supervised release will commence within        (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time;
         or

F    [ ] Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau
of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:

[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including costs of prosecution and court
costs.
